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            EXHIBIT C
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                                          Deposition Notice Dates
            Witness           Date Noticed          Served By            Scheduled?      Deposition Date
                                                                                      9/30/2024 & 11/12/24
Hodgson                        7/18/2024         Benjamin Wish                            11/21/2024
Joshua Dube                    8/19/2024         Madison Bader                            11/21/2024
Tracey Perez                   8/19/2024         Madison Bader                            11/21/2024
Jennifer Arsenault (Picard)    8/19/2024         Madison Bader                            11/22/2024
Steven Souza                   8/19/2024         Madison Bader                            12/20/2024
30(b)(6)                       9/18/2024         Susmita Gadre              
Barry Ferreira                11/18/2024         Madison Bader                            1/10/2025
Bruce Assad                   11/18/2024         Madison Bader              
Chris Goncalves               11/18/2024         Madison Bader              
Douglas Mongeon               11/18/2024         Madison Bader                            2/25/2025
Garrett Correia               11/18/2024         Madison Bader              
Jonathan Allard               11/18/2024         Madison Bader              
Jonathan Baroody              11/18/2024         Madison Bader                             3/6/2025
Paul Douglas                  11/18/2024         Madison Bader              
Andrew Sousa                  11/18/2024         Madison Bader              
Joseph Oliver III              1/17/2025         Miriam Nemeth                            2/10/2025
Jeremy Carlton                 1/17/2025         Miriam Nemeth                            2/28/2025
Judy Borges                    1/17/2025         Miriam Nemeth                         3/7/2025 (partial)
Timothy Melo                   1/17/2025         Miriam Nemeth              
Ryan Isherwood                 1/17/2025         Miriam Nemeth              
Filipe DaSilva                 1/17/2025         Miriam Nemeth              
Mark Amaral                    1/17/2025         Miriam Nemeth              
Michael Bettencourt            1/17/2025         Miriam Nemeth                            2/28/2025
Jonathan Sylvia                1/17/2025         Miriam Nemeth              
Garrett Soucey                 1/17/2025         Miriam Nemeth              
Robert Perry                   1/17/2025         Miriam Nemeth              
Brian Pratt                    1/17/2025         Miriam Nemeth              
Nelly Floriano                 1/17/2025         Miriam Nemeth              
Kenneth Almeida                1/17/2025         Miriam Nemeth              
William Dillingham             1/17/2025         Miriam Nemeth              
Belinda Bulgar                 2/19/2025          Lillian Novak             
Gregory Nesse                  2/19/2025          Lillian Novak             
